          Case 2:06-cr-00291-CDS-LRL        Document 45    Filed 02/09/07      Page 1 of 2




 1

 2

 3                              UNITED STATES DISTRICT COURT

 4                                        DISTRICT OF NEVADA

 5                                                ***

 6   UNITED STATES OF AMERICA,                        )
                                                      )
 7                           Plaintiff,               )
                                                      )
 8   v.                                               )    2:06-cr-0291-PMP-LRL
                                                      )    Motion to Dismiss (#38)
 9
     LONNIE LILLARD,                                  )
10                                                    )
                             Defendant.               )
11                                                    )

12                              REPORT & RECOMMENDATION
13            On January 12, 2007, the defendant filed a proper person Motion to Dismiss Indictment

14   and Complaint as a Result of Failure to State Offense and Post-Accusatory Delay (#38). At the

15   time, he was authorized to represent himself in this case. Shortly thereafter, however, the

16   defendant requested that he again be represented by counsel. The undersigned granted the

17   request, and appointed John McNicholas, who had been the defendant’s standby counsel. The

18   undersigned directed Mr. McNicholas to review the proper person Motion to Dismiss (#38) and

19   advise the court in writing as to whether, in Mr. McNicholas’s professional judgment, any of

20   the claims made by the defendant were legally or factually sustainable.

21            On February 3, 2007, Mr. McNicholas filed a Memorandum Addressing Defendant

22   Lonnie Lillard’s Motion to Dismiss, etc. (#44). In his Memorandum Mr. McNicholas carefully

23   reviews each of the defendant’s claims, and concludes essentially that each claim is without

24   arguable merit. The undersigned has also reviewed the defendant’s motion, and concurs with

25   and adopts Mr. McNicholas’s analysis.

26   ...
      Case 2:06-cr-00291-CDS-LRL        Document 45      Filed 02/09/07   Page 2 of 2




 1                                    RECOMMENDATION

 2         Based on the foregoing, it is the recommendation of the undersigned U.S. Magistrate

 3   Judge that the defendant’s proper person Motion to Dismiss Indictment and Complaint as a

 4   Result of Failure to State Offense and Post-Accusatory Delay (#38) should be denied.

 5         DATED this 9 th day of February, 2007.

 6

 7
                                             LAWRENCE R. LEAVITT
 8                                           UNITED STATES MAGISTRATE JUDGE
 9

10

11

12

13

14

15

16

17

18

19

20

21

22

23

24

25

26

                                                  2
